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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CASCADES COMPUTER
INNOVATION, LLC.,
                                               Civil Action No. 11-cv-7249
                            Plaintiff,

      v.
                                               JURY TRIAL DEMANDED
PANTECH WIRELESS, INC.,

                            Defendant.

                     COMPLAINT FOR PATENT INFRINGEMENT

      Plaintiff Cascades Computer Innovation, LLC. ("Cascades") alleges the following:

                                           PARTIES

      1.      Cascades is an Illinois limited liability company having its principal place of

business at 500 Skokie Boulevard, Suite 350, Northbrook, Illinois 60062.

      2.      Pantech Wireless, Inc. (“Pantech”) is a Georgia corporation with an office

located at 5607 Glenridge Drive Suite 500 Atlanta, GA 30342. It is a wholly-owned

subsidiary of Pantech Co., Ltd., a Korean corporation, that manufactures accusing

infringing products in Korea and imports them into the United States through the

defendant Pantech Wireless, Inc.

      3.      Pantech uses, sells, offers for sale, and/or receives imports into the United

States of wireless portable communication devices, including specifically cellular

telephones.

                                         JURISDICTION

      4.      Cascades' claim for patent infringement against defendants arises under

the patent laws of the United States, including 35 U.S.C. §§ 271 and 281.
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Consequently, this Court has original subject matter jurisdiction over this suit pursuant

to 28 U.S.C. §§ 1331 and 1338.

        5.      Pantech is subject to the specific and general personal jurisdiction of this

Court because, among other things, it has established continuous and systematic

contacts with Illinois and with this judicial district, it has committed acts within Illinois and

this judicial district giving rise to this action, and it has minimum contacts with the forum

such that the exercise of jurisdiction over it would not offend traditional notions of fair

play and substantial justice.       For instance, Pantech has established distribution

networks placing products that infringe Cascades' patent into the stream of commerce

such that those products flow into Illinois and this district. Pantech has also committed

acts of patent infringement and/or contributed to others' acts of patent infringement

within this district.

        6.      Venue is proper under 28 U.S.C. §§ 1391 and/or 1400(b).

                                     PATENT AT ISSUE

        7.      On June 20, 2006, United States Patent No. 7,065,750 (the "'750 patent"),

entitled "Method and Apparatus for Preserving Precise Exceptions in Binary Translated

Code," was duly and legally issued by the United States Patent and Trademark Office.

Cascades owns the exclusive license and right to sue for past, present and future

infringement of the '750 patent.

        8.      Pantech is now and has been infringing and/or contributorily infringing the

'750 patent, literally and under the doctrine of equivalents, by, among other things,

using, offering to sell, selling, re-selling and/or receiving imported products from its

parent, Pantech, Co., Ltd., that infringe one or more claims of the '750 patent. Such




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infringing products include, but are not limited to, cell phone products such as its

Crossover and Breakout Smartphones.

       9.      Cascades has been and continues to be damaged by Pantech's actions.

                                 PRAYER FOR RELIEF

      WHEREFORE, Cascades prays for the following relief:

       A.      A judgment finding Pantech has infringed and contributorily infringed the

'750 patent;

       B.      A judgment that the '750 patent is valid and enforceable;

       C.      A permanent injunction enjoining Pantech, its agents, officers, assigns and

others acting in concert with them, from infringing, inducing infringement of and/or

contributing to infringement of the '750 patent;

       D.      An award of damages adequate to compensate Cascades for the

infringement of the '750 patent that has occurred;

       E.      An award of pre-judgment interest and post-judgment interest on the

damages awarded;

       F.      A determination that this is an exceptional case and an award of

Cascades' attorneys' fees pursuant to 35 U.S.C. § 285 and any other applicable statute

or law, and an award to Cascades of its costs; and,

       G.      Such other relief as the Court deems equitable under the circumstances.




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                               JURY DEMAND

Plaintiff demands a trial by jury on all issues triable to a jury.


                                          /s/ Raymond P. Niro
                                          Raymond P. Niro (rniro@nshn.com)
                                          Arthur A. Gasey (gasey@nshn.com)
                                          Paul C. Gibbons (gibbons@nshn.com)
                                          NIRO, HALLER & NIRO
                                          181 W. Madison, Suite 4600
                                          Chicago, IL 60602
                                          (312) 236-0733
                                          Fax: (312) 236-3137

                                          Attorneys for Cascades Computer
                                          Innovation, LLC




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